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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J
on APRIL 20, 2010
JUDGE BARBIER

This Document Relates to:

Duc Truong Le, et al. v.
BP PLC, et al
EDLA No. 10-3173

MAG, JUDGE SHUSHAN

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ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs’ HAN VO, CA NGUYEN, NGA HO, and
COC VAN'S Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice
is hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs’ HAN VO, CA
NGUYEN, NGA HO, and COC VAN only, as listed on Exhibit “A” attached to said
Motion are hereby dismissed without prejudice. This Order in no way affects the claims
of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 20171.

HONORABLE CARL J. BARBIER
